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           Exhibit A
               Proposed Order
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    YELLOW CORPORATION., et al.,                               Case No. 23-11069-CTG

                                Debtors.                       (Jointly Administered)




                ORDER GRANTING MOTION OF DONNA LEE DAUGHERTY
             FOR ORDER PURSUANT TO SECTION 362(d) OF THE BANKRUPTCY
             CODE, BANKRUPTCY RULE 4001 AND LOCAL BANKRUPTCY RULE
                  4001-1 MODIFYING THE AUTOMATIC STAY TO ALLOW
                      CONTINUATION OF PREPETITION LITIGATION

             UPON CONSIDERATION OF the Motion of Donna Lee Daugherty for Order Pursuant

to Section 362(d) of the Bankruptcy Code, Bankruptcy Rule 4001 and Local Bankruptcy Rule 4001-

1 Modifying the Automatic Stay to Allow Continuation of Prepetition Litigation (the “Motion”), 1

and, for good cause shown,

             IT IS HEREBY ORDERED that:

             1.     The Motion is GRANTED as set forth herein;

             2.     The automatic stay imposed by 11 U.S.C § 362 is hereby modified for the limited

                    purpose of permitting Movant prosecute the Daugherty Action to final judgement;

             3.     The Court retains jurisdiction with respect to all matters arising from or related to

                    the implementation of this Order, including considering further relief from the

                    automatic stay.

             Dated: October ___, 2023                           _______________________________
                                                                United States Bankruptcy Court Judge



1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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